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VICKY BERGMAN et al. ) g Bf:'l_ \;“itj .E
Plaimiffs, § -'~'-;.,_. .. ""='i`r`*'?T "'
v. § Civil Action No. l4-cv-O3205-RDB
DAP PRODUCTS INC. et al. §
'Defendants. §)

 

_`1- FIN AL ORDER AND JUDGMENT APPROVING OF CLASS ACTlON
SETTLEMENT

On March 22, 2016, this Court granted preliminary approval of the proposed class action
settlement set forth in the Settlement Agreement (the “Settlement Agreernent”) between

Plaintiffs Vicky Bergman, Michael Carton, Cynthia Finnl<, Rocco Lano, Laurina Leato, Marilyn

 

Listander, Roger l\/larnmon, Wi|liam Dumone and Amy Joseph (the “Scttlement C|ass
Representatives"), on behalf of themselves and all members of the Settlement Class. and
Det`endants DAP Products lnc. and National Express, lnc. ("Defendants").l The Court also
conditionally certified the Settlement Class for settlement purposes, approved the procedure for
giving notice to the members of the Settlement Class, and set a Final Approval I-learing to take
place on July 28, 2016 at 10:00 a.m.

011 July 28, 2016, the Court held a duly noticed Final Approval Hcaring to consider (l)
whether the terms and conditions of the Settlement Agreement are fair, reasonable, and adequate;

(2} whether a judgment should be entered releasing the Relcased Claims and permanently

 

5 'I`his Finat Ordcr and Judgment, except as otherwise indicated herein, hereby incorporates by
reference the definitions of the Settlement Agreement as though fully set forth herein, and all
terms used herein shall have the same meaning as set forth in the Settlement Agreement.

 

 

 

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barring the Settlement Class Representatives and Settlement Class Members from prosecuting
the Released Claims against Defendants and all of the other Released Parties in regard to those
matters released as set forth in Section Ill.D. oi` the Settlement Agreement; and (3) whether and
in what amount to approve Class Counsel’s motion for an award of attorneys’ fees and costs and
incentive awards for the Class Representatives.

Accordingly, it is hereby ORDERED AND ADJUDGED that:

l. The Court has personal jurisdiction over the parties and the Settlement Class
Members; venue is proper; and the Court has subject matterjurisdiction to approve the
Settlement Agreement, including all exhibits thereto, and to enter this Final Order and Judgment.
Without in any way affecting the iinaiity of this Final Order and Judgment, this Court hereby

retains jurisdiction as to all matters reiating to administration, consummation, enforcement, and

 

` interpretation of thc Settlemcnt Agreement and oi` this Final Order and Judgment, and for any

other necessary purpose.
2. The Court finds that Notice to the Settlement Class was given in the manner

ordered by the Court; that it constituted the best practicable notice to apprise Settiement Class
Members of the pendency of the Action; that it apprised them of their right to object or exclude
themselves from the proposed Settlement and of their right to appear at the Final Approval
Hcaring through an attorney if they so desired; that it informed Settiement Class Members that
the judgment would be binding; that the Notice to the Settiement Class was fair, reasonable, and
adequate and constituted sufficient notice to all persons entitled to receive notice, including all
Settlement Class Members; and complied fully with the requirements of Federal Rule of Civii

Proccdure 23.

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3. The Court finds that Defendants’ service of notice of the Settlement on the State
officials of each State in which a Settlement Class Member resides and the appropriate Federal
official complied with the Class Action Faimess Act and satisfies all requirements of 28 U.S.C.
Section l?l$(b).

4. The Court finds that the prerequisites for class certification under F ederal Ruie of
Civil Procedure 23(a) and Federal Rule of Civil Proeedure 23(b)(3) have been satisfied for
settlement purposes for each Settlement Class Member in that (a) the number of Settlement Class
Members is so numerous thatjoinder of all members thereof is impracticable; (b) there are

questions of law and fact common to the Settlement Class; (e) the claims of the Class

 

l Representatives are typical of the claims of the Settlement Class they seek to represent; (d) the
Class Representatives have fairly and adequately represented the interests of the Settlement Class
i for purposes of entering into the Settlement Agreement; (e) the questions of law and fact
common to the Settlement Class Members predominate over any questions affecting only
individual Settlement Class Member; and (f`) a class action is superior to the other available
methods for the fair and efficient adjudication of the controversy.
5. Pursuant to Federal Rule of Civil Procedure 23, this Court hereby finally certifies
the following Settlement Class (as identified in the Settlement Agreement):

All persons who purchased Covered Producls in the United States, its territories,
or at any United States military facility or exchange from January l, 2012 through
December 29, 2015. Excluded from the Settlement Class are all persons listed on
Exhibit A hereto who have opted out of the Settlement Class; counsel of record
(and their respective law firms} for the Parties; Defendants and any of their
parents, afi`iliates, and subsidiaries and all of their respective employees, officers,
and directors; the presiding judge in the Action, and all of his immediate family
and judicial staff. "Covered Proclucts" means all products bearing the brand name
XHOse, including the XHose, XHosc Pro, and XHose Pro Extreme, including all
sizes thcreof, that have been designed, marketed, advertised, so|d, manufactured,
and/for distributed by any of the Released Parties.

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6. All persons who validly opted out of the Settlement Class and who the Court now
excludes are listed on Exhibit A (the "Exclusion List"), hereto. The persons on the Exclusion List
are not bound by this Judgment or the terms of the Settlement.

7. The Court finds that the Settlement is fair, reasonab|e, and adequate for ali Class
Members. Class Counsel undertook an extensive and costly investigation and reasonably
evaluated the strengths and weaknesses of the Class’s claims. Settlement at this time avoids
substantial additional costs by all Parties. The Settlement confers substantial benefits upon
Settlement Class Members including substantial payments to be made to those who file or have
filed claim forms, balanced against the probable outcome of further litigation given the risks
relating to liability and damages The Settlement Agreement was reached only after vigorous,
arms’-length, adversarial negotiations over the course of several months and in two separate, in-
person mediation sessions with a respected mediator“-the Honorable Frederic Smalkin (ret.) of
JAMS.

8. Pursuant to Federal Rule of Civil Procedure 23, the Court hereby awards Class
Counsel Attomeys’ Fees and Expenses in the amount of $ l l¢° v ~9\’ 00 payable pursuant
to the terms of the Settlement Agreement. The Court also awards incentive awards in the amount
of $ va 0,__,_§_,_ each to Plaintiffs Vicl<y Bergman, Michael Carton, Cynthia Finnk,
Rocco Lano, Laurina Leato, Marilyn Listander, Roger Mammon, Wi|liam Dumone and Amy
Joseph.

9. The terms of the Settlement Agreement and of this Final Order and Judgment,
including ali exhibits thereto, shall be forever binding on the parties, and Shall have the effect of i
resjudicata and claim preclusion effect in all pending and future lawsuits maintained by the

Plaintiffs and all other Settlement Class Members, as well as by any of their heirs, trustees, l

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executors, administrators, successors, and assigns.
10, The Release, which is set forth in Section llI,D,l. of the Settlement Agreement
and which is also set forth below, is expressly incorporated herein in all respects and is effective
as of the date of this Final Order and Judgment; and the Released Parties (as that term is defined
in the Settlement Agreement) are forever fully released, relinquished and discharged from all

Released Claims

Upon the Effective Date, and except as to such rights or claims as may be created
by this Agreement, Plaintiffs and the Settlement Class (together, the "Releasing
Parties") forever and fully release, relinquish and discharge the Released Parties
from any and all claims, demands, actions, causes of action, damages, rights to
restitution and disgorgement, rights to attomeys, fees, costs, and expenses, rights
to injunctive relief, and all other rights to relief (collectively, "Claims"), that the
Releasing Parties ever had, now have, may have, or hereafter have, of any kind or
nature whatsoever, whether at law or equity, known or unknown, direct, indirect,
or consequential, liquidated or unliquidated, foreseen or unforeseen, developed or
undeveloped, arising under federal, state or local common law, regulatory or
statutory law, or otherwise, and regardless of the type or amount of relief and/or
damages claimed, that are: included within, arise out of, or relate to the
allegations or the Claims that were alleged or that could have been alleged by
Plaintiffs, the Settlement Class and/or any Settlement Class Member against the
Released Parties in the Consolidated Complaint, Separate Actions or any other
legal action relating to the Covered Products, whether those Claims are asserted
individually or on a classwide basis (collectively, the "Released Claims"). The
Release shall be construed to effectuate complete finality over the Consolidated
Class Action and Separate Actions involving allegations of false advertising,
defects in, and breach of express and implied warranties for, the Covered
Products, Further provided that this definition of Released Claims expressly
excludes Claims for personal injury.

l l. This Final Order and Judgment and the Settlement Agreement (including the

exhibits thereto) may be filed in any action against or by any Released Party to support a defense
of res judicata or claim preclusion, collateral estoppel or issue preclusion, release, good faith
settlement, judgment bar or any similar defense

12. Without further order of the Couit, the Parties may agree to reasonably necessary

extensions of time to carry out any of the provisions of the Settlement Agreement.

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13. This Action, including all individual claims and ciass claims presented herein, is
hereby DISMISSED on the merits and WlTH PREJUDICE against the Plaintiff's and all other
Settlement Class Members, without fees or costs to any party except as explicitly provided

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The Honorable Richard D. Bennett
United States District Judge

 

 

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